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Counsel for Kreher 's Farm Fresh Eggs, LLC


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In Re Case No. 18-22279-rdd
                                                             (Joint Administration Pending)
TOPS HOLDING 11 CORPORATION, et. al,
                                                             Chapter 11
                                      Debtors.




     NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS AND
             REQUEST TO BE ADDED TO MASTER SERVICE LIST

        PLEASE TAKE NOTICE that the undersigned appear in the above-captioned cases as

counsel to creditor, Kreher's Farm Fresh Eggs, LLC ("Kreher's"). Pursuant to Rules 2002 and


9010(b) of the Federal Rules of Bankruptcy Procedure and Section 1109(b) of the Bankruptcy

 Code, the undersigned demand that all notices given or required to be given and all papers served


in these cases be delivered to and served upon the parties identified below at the following


 address and further request to be added to the Master Service List:


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         PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the Bankruptcy

 Code, the foregoing demand includes not only the notices and papers referred to in the


 above-mentioned Bankruptcy Rules, but also mcludes, without limitation, all orders,


 applications, motions, petitions, pleadings, requests, complaints or demands, whether formal or


 informal, written or oral, transmitted or conveyed by mail delivery, telephone, facsimile or


 otherwise, m these cases.


          This Notice of Appearance and any subsequent appearance, pleading, claim, or suit is not


 intended nor shall be deemed to waive Kreher's (i) right to have final orders in non-core matters


 entered only after de novo review by a district court judge; (ii) right to trial by jury in any

 proceedings so triable herein or in any case, controversy or proceeding related hereto; (in) right


 to have the reference withdrawn by the United States District Court in any matter subject to


 mandatory or discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs or


 recoupments to which Kreher's is or may be entitled under agreements, at law, or in equity, all of


 which rights, claims, actions, defenses, setoffs, and recoupments expressly are hereby reserved.


 Dated: Buffalo, New York
                 February 22, 2018

                                                       GROSS SHUMANP.C.



                                                       By: /s/ Janet G. Burhyte
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